

Kim v Francis (2021 NY Slip Op 02072)





Kim v Francis


2021 NY Slip Op 02072


Decided on April 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 01, 2021

Before: Manzanet-Daniels, J.P., Kern, González, Shulman, JJ. 


Index No. 650481/18 Appeal No. 13491-13491A Case No. 2020-02244, 2020-03374 

[*1]Paul Kim, Plaintiff-Appellant,
vJonathan Francis, et al., Defendants-Respondents, Gerard R. Adams, et al., Defendants. Sunshine Isaacson &amp; Hecht, LLP, Non-Party-Appellant.


Pollack, Pollack, Isaac &amp; DeCicco, LLP, New York (Kenneth Gorman of counsel), for appellants.
Foster Garvey, PC, New York (Kara Steger of counsel), for respondents.



Appeals from orders, Supreme Court, New York County (Andrea Masley, J.), entered January 17, 2020 and on or about April 14, 2020, which, insofar as appealed from as limited by the briefs, respectively, granted defendants' request for sanctions and directed plaintiff's attorney, Jeffrey A. Sunshine, Esq., to pay the amount of $3,562.50 to defendant Gerard Adams, unanimously dismissed, without costs, for failure to perfect.
Appellants failed to file proof of service of the record and their brief on defendant Adams. Thus, they failed to perfect the appeals (see  Rules of App Div, 1st Dept [22 NYCRR] § 1250.9[a][1]). Moreover, appellants offered neither excuse nor explanation, despite the fact that the appearing defendants raised appellants' failure in their respondents' brief. Accordingly, we dismiss the appeals on our own motion (see Zetlin v Hanson Holdings , 63 AD2d 878 [1st Dept 1978]; Tonkonogy v Jaffin , 21 AD2d 264, 267 [1st Dept 1964]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 1, 2021








